      Case 1:18-cv-00719-CCR              Document 241        Filed 11/19/24      Page 1 of 17




 UNITED STATES DISTRICT COURT
 FOR THE WESTERN DISTRICT OF NEW YORK



  BLACK LOVE RESISTS IN THE RUST, et al.,
  individually and on behalf of a class of all others
  similarly situated,


                            Plaintiffs,


             v.                                                 No. 1:18-cv-00719-CCR



  CITY OF BUFFALO, N.Y., et al.,


                            Defendants.




 PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF CLASS CERTIFICATION

           Plaintiffs respectfully submit this supplemental brief in further support of their Motion

for Class Certification (ECF 202), pursuant to the Court’s Order at the October 23, 2024, oral

argument (ECF 238). Along with this supplemental briefing, Plaintiffs respectfully rely on their

fully briefed motion and oral argument concerning the same.

      I.      CLARIFICATION OF PLAINTIFFS’ POSITION ON DAMAGES

           Given that Plaintiffs do not know of any putative class members who wish to seek the

recovery of individual, personal-injury style damages, and in light of the concerns raised by the

Court at oral argument, the Checkpoint and Tinted Windows Classes will not seek to recover

damages for consequential harms, such as emotional distress and lost wages, which must be



                                                    1
      Case 1:18-cv-00719-CCR          Document 241        Filed 11/19/24     Page 2 of 17




proven by individual class member testimony and other personalized evidence. Any class

members who wish to seek such damages may do so by excluding themselves from the class as

provided by Rule 23(c)(2)(B). Because class representatives and class members seek the same

categories of damages, no conflict of interest exists between the two, and the adequacy

requirement is still met.

       The Checkpoint and Tinted Windows Classes will continue to seek: (1) general damages

in an amount determined by the jury;1 (2) punitive damages in an amount determined by the jury;

(3) direct economic damages, consisting of the fines and fees that class members paid in

connection with tickets and impounds; and (4) equitable disgorgement of the same. As discussed

in Plaintiffs Opening Brief (ECF No. 211 at 55–56) and Reply Brief (ECF No. 223 at 22-25),

these forms of damages are either inherently common among class members (in the case of

general and punitive damages) or unambiguously established by business records, such that no

factual or evidentiary determinations are required. ECF No. 223 at 24-25; see also Fed. R. Evid.

803(6). Furthermore, because class members’ entitlement to economic damages and

disgorgement does not stem from the Fourth Amendment or any procedural Due Process claim,

there are no defenses unique to individual class members that require adjudication, as previously

explained. See ECF No. 223 at 8, 10-14, 17.

       Given that all liability questions are common, and damages are either common or easily

calculated, the Checkpoints and Tinted Windows Classes unquestionably meet Rule 23(b)(3)’s

requirements of predominance and superiority. Id., accord Roach v. T.L. Cannon Corp., 778 F.3d



1
  Plaintiffs have not assigned a dollar figure (e.g. $100 per motorist) to the general damages
recoverable by class members, because this is the province of the jury to decide. Instead,
Plaintiffs have proposed a process, or formula, by which a jury can determine such amounts,
with the understanding that Defendants are free to propose alternate criteria. See ECF No. 211 at
55-56 (discussing approach and collecting related cases); ECF No. 223 at 22-23 (same).
                                                2
      Case 1:18-cv-00719-CCR              Document 241        Filed 11/19/24     Page 3 of 17




401, 409 (2d Cir. 2015) (“[I]ndividualized damages determinations alone cannot preclude

certification under Rule 23(b)(3)”). This Court should certify the damages classes.

     II.      THIS COURT SHOULD CERTIFY THE TRAFFIC ENFORCEMENT CLASS
              UNDER RULE 23(b)(2)

           Plaintiffs’ proposed Traffic Enforcement Class seeks prospective, injunctive relief to end

the City’s unlawful and discriminatory traffic enforcement policies and practices that target

Black and Latino motorists. These policies and practices include systematically targeting Black

and Latino motorists for traffic stops and tickets based on their race and the racial demographics

of the neighborhoods in which they happen to be driving, in violation of the Equal Protection

Clause and Title VI of the Civil Rights Act, and failing to take steps necessary to eliminate these

practices. To prevail on this claim at trial, Plaintiffs will prove that the City has demonstrated

deliberate indifference to, and is the moving force behind, ongoing racially discriminatory traffic

enforcement practices.2




2
  The expert testimony of Michael Gennaco, as reflected in his Expert Report, will support both
deliberate indifference (by outlining areas in which BPD’s policies fall below generally accepted
standards) and causation (by contextualizing how widespread accountability failures within
police departments encourage ongoing violations of constitutional rights to persist). The expert
testimony of David Bjerk will provide evidence of ongoing statistical disparities in traffic stops
and citations. The expert testimony of Robert Silverman will also support discriminatory intent
by providing evidence of Buffalo’s long history of discriminatory policing and other municipal
practices. Plaintiffs also plan to prove discriminatory intent through documentary evidence and
witness testimony. See, e.g., Plaintiffs #1-21 v. Cnty. of Suffolk, No. 15-cv-2431, 2021 WL
11629176, at *7 (E.D.N.Y. Aug. 5, 2021) (denying summary judgment to class of all Latinos who
could be subject to a traffic stop in Suffolk County on Equal Protection claims challenging
discriminatory enforcement); Plaintiffs #1-21 v. Cnty. of Suffolk, No. 15-CV-2431, 2021 WL
1255011, at *9 (E.D.N.Y. Mar. 12, 2021), report and recommendation adopted, No. 15-CV-2431,
2021 WL 1254408 (E.D.N.Y. Apr. 5, 2021) (granting class). See also Wilkins v. City of Chicago,
No. 23-CV-04072, 2024 WL 2892840, at *4 (N.D. Ill. June 10, 2024); Floyd v. City of New York,
959 F. Supp. 2d 540 (S.D.N.Y. 2013); Davis v. City of New York, 959 F. Supp. 2d 324, 359-65
(S.D.N.Y. 2013); Aikman v. Cnty. of Westchester, 491 F. Supp. 2d 374, 383 (S.D.N.Y. 2007), on
reconsideration in part, 691 F. Supp. 2d 496 (S.D.N.Y. 2010); Doe v. Vill. of Mamaroneck, 462 F.
Supp. 2d 520, 549–53 (S.D.N.Y. 2006).
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      Case 1:18-cv-00719-CCR            Document 241         Filed 11/19/24       Page 4 of 17




        Rule 23(b)(2) provides for class certification when “the party opposing the class has

acted or refused to act on grounds that apply generally to the class, so that final injunctive relief

or corresponding declaratory relief is appropriate respecting the class as a whole[.]” Fed. R. Civ.

P. 23(b)(2). “Civil rights cases against parties charged with unlawful, class-based discrimination

are prime examples” of (b)(2) class actions. Amchem Products, Inc. v. Windsor, 521 U.S. 591,

614 (1997) (citing Adv. Comm. Notes, 28 U.S.C. App., p. 697). The Rule “reflects a series of

decisions involving challenges to racial segregation—conduct that was remedied by a single

classwide order.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 361 (2011). That is exactly the

relief Plaintiffs request in this case: a single, class-wide order directing the City to modify its

policies and procedures to prevent the BPD from engaging in racially motivated traffic stops and

ticketing and retaining jurisdiction until such time as the City can establish compliance, as courts

have readily done in similar contexts involving unconstitutional police practices.

        A. Plaintiffs’ Proposed Class Definition Is Ascertainable and Consistent with Class
           Definitions the Second Circuit Has Approved in Rule 23(b)(2) Actions

        In the Second Circuit, ascertainability requires only that “a proposed class is defined

using objective criteria that establish a membership with definite boundaries.” In re Petrobras

Sec. Lit., 862 F.3d 250, 269 (2d Cir. 2017). Plaintiffs’ proposed definition for the Traffic

Enforcement Class meets this “modest threshold.” Id. The proposed definition is: “All Black

and/or Latino individuals who have been or will be subjected to traffic stops, traffic tickets, and

‘traffic safety’ vehicle checkpoints by the BPD.” The definition is objective, in that it describes a

particular subset of drivers—those who are Black and/or Latino and subjected to traffic stops,

traffic tickets, and “traffic safety” vehicle checkpoints. The class members are easily identified

because the City maintains records of traffic stops, traffic tickets, and Checkpoints. People who

are neither Black nor Latino are not class members. Black and/or Latino individuals who have no

                                                   4
      Case 1:18-cv-00719-CCR           Document 241         Filed 11/19/24      Page 5 of 17




experience with traffic stops, traffic tickets, or Checkpoints are not class members either. 3 The

class has definite boundaries. And the class definition is similar to class definitions found

ascertainable in other cases challenging discriminatory policing. See, e.g., County of Suffolk,

2021 WL 1255011, at *9, *16 (“All Latino or Latina persons who, at any time after January

2012, have been or in the future will be subject to a vehicular or pedestrian stop or detention by

an agent of the Suffolk County Police Department in the county of Suffolk.”). 4 If anything,

Plaintiffs’ proposed class definition is narrower than that approved in County of Suffolk, as the

definition in that case encompassed not only past and future individuals subject to traffic stops,

but also those subject to pedestrian stops.

       The fact that the class definition encompasses future class members whose identity is not

currently known—those who “will be subjected” to traffic stops, tickets, and Checkpoints—does

not render the definition unascertainable. 2021 WL 1255011, at *16 (“[C]lasses for injunctive

relief can include future members.”); see also Westchester Indep. Living Ctr. v. State Univ. of N.Y,

Purchase College, 331 F.R.D. 279, 299 (S.D.N.Y. 2019) (certifying class defined as “all people

with mobility disabilities who use or will use pedestrian rights-of-way at SUNY Purchase”) 5;

Abdi v. Duke, 323 F.R.D. 131, 136 (W.D.N.Y. 2017) (certifying class defined as “all arriving




3
  This is true as to future class members as well. At any moment in time, the identities of all
those who, through that moment, have been subjected to traffic enforcement are completely and
objectively ascertainable. As set forth below, the cases agree that this type of definition meets the
ascertainability requirement
4
  See also Melendres v. Arpaio, 989 F. Supp. 2d 822, 826 (D. Ariz. 2013) (“[A]ll Latino persons
who, since January 2007, have been or will be ... stopped, detained, questioned or searched by
[Defendants’] agents while driving or sitting in a vehicle on a public roadway or parking area in
Maricopa County, Arizona.”); In re Cincinnati Policing, 209 F.R.D. 395, 397-98 (S.D. Ohio
2002) (“All African–American or Black persons and people perceived as such who reside, work
in and/or travel on public thoroughfares in the City of Cincinnati, Ohio either now or in the
future and who are stopped, detained, or arrested by Cincinnati Police Officers”).
5
  Emphasis added to all citations in this paragraph.
                                                  5
      Case 1:18-cv-00719-CCR            Document 241         Filed 11/19/24      Page 6 of 17




asylum-seekers who have passed a credible fear interview and who are or will be detained at the

Buffalo Federal Detention Facility and who have not been granted parole”) (subclass

subsequently decertified based on intervening change in controlling law). Inclusion of future

members is a frequent feature of (b)(2) class definitions, and the Second Circuit has often

approved such definitions. For example, in Sykes v. Mel S. Harris and Associates, the Second

Circuit affirmed certification of a (b)(2) class defined as “all persons who have been or will be

sued by the Mel Harris defendants as counsel for the Leucadia defendants in actions commenced

in New York City Civil Court and where a default judgment has been or will be sought.” 780

F.3d 70, 79 (2d Cir. 2015). And in Barrows v. Becerra, the Second Circuit affirmed a nationwide

class consisting of “[a]ll Medicare beneficiaries who, on or after January 1, 2009 . . . have

received or will have received” certain services. 24 F.4th 116, 130 n.54 (2d Cir. 2022). In

Marisol A. v. Giuliani, the Second Circuit approved certification of two classes consisting of

“children who are or will be in the custody of the New York City Administration for Children's

Services ('ACS')” and “children who, while not in the custody of ACS, are or will be at risk of

neglect or abuse and whose status is or should be known to ACS.” 126 F.3d 372, 378 (2d Cir.

1997); see also Elisa W. v. City of New York, 82 F.4th 115, 119 (2d Cir. 2023) (“all children who

are now or will be in the foster care custody of the Commissioner of New York City’s

Administration for Children’s Services”).

       Inclusion of future members does not pose a class management problem because of the

nature of the (b)(2) class: individualized notice is “not obligatory, and the relief sought is

injunctive rather than compensatory.” Westchester Indep. Living Ctr., 331 F.R.D. at 299 (citing

Brooklyn Ctr. for Indep. of the Disabled v. Bloomberg, 290 F.R.D. 409, 419 n.3 (S.D.N.Y. 2012)).

Rule 23(b)(2) applies “only when a single injunction or declaratory judgment would provide



                                                  6
      Case 1:18-cv-00719-CCR           Document 241         Filed 11/19/24      Page 7 of 17




relief to each member of the class.” Wal-Mart Stores, 564 U.S. at 360. Because relief consists of

a single injunction directed to the defendants, the court need not specifically identify each

plaintiff class member who will benefit from the change in policy. Given that the Rule’s drafters

designed the (b)(2) mechanism to provide relief to classes “whose members are incapable of

specific enumeration,” “precise ascertainability” is “unnecessary” in (b)(2) class actions. Floyd v.

City of New York, 283 F.R.D. 153, 171 (S.D.N.Y. 2012) (quoting Advisory Committee Note to

Rule 23(b)(2)); accord Marisol A., 126 F.3d at 378 (approving certification of “large and

amorphous” class because harms “stem[med] from central and systemic failures” and plaintiffs

sought “injunctive relief and . . . predicate[d] the lawsuit on the defendants’ acts and omissions

with respect to the class”) (cleaned up).

        The scope of Plaintiffs’ proposed class definition is appropriate. Because Plaintiffs

challenge the harms flowing from the City’s ongoing discriminatory traffic enforcement policies

and practices, all Black and Latino individuals who are or will be exposed to such policies and

practices are suitable class members, as all will benefit from an injunction requiring the City to

identify and end racially biased traffic enforcement. See County of Suffolk, 2021 WL 1255011, at

*17 (“class-wide injunction to reform” policies and practices “would benefit the class as a

whole”); Abdi, 323 F.R.D. at 137–38 (“inclusion of future class members is appropriate in this

case because they are under threat of imminent injury”); R.F.M. v. Nielsen, 365 F. Supp. 3d 350,

369 (S.D.N.Y. 2019) (policy poses same risk of injury to all members of the class, including

those not yet subjected to it).6



6
 While it may seem tempting to limit the class to those who have or will experience “unlawful”
or “discriminatory” traffic enforcement practices, this would create a fail-safe class, in which
class membership turns on the merits determination. See generally 1 Newberg on Class Actions §
3:6 (6th ed.). While the Second Circuit has not barred the use of fail-safe definitions in b(2)


                                                 7
      Case 1:18-cv-00719-CCR             Document 241         Filed 11/19/24       Page 8 of 17




        Accordingly, Plaintiffs’ proposed class definition is ascertainable.

        B. Recent Second Circuit Case Law Confirms That the Proposed Traffic
           Enforcement Class Meets Commonality and Typicality Requirements

        The Second Circuit’s recent opinion in Elisa W. v. City of New York, reversing a district

court’s denial of class certification in a case involving municipal defendants, strongly supports

finding commonality and typicality in this case. In Elisa W., which concerned systemic failures

of New York City’s foster care system, the Second Circuit instructed that whether a municipality

“exhibits deliberate indifference to a known risk or specific duty may be a common question that

can be answered on a class-wide basis.” 82 F.4th at 124. In support of this conclusion, the

Second Circuit pointed to a series of overarching municipal policy failures—principally failures

to train, supervise, and exercise adequate oversight over municipal employees and contractors—

all of which “can properly be litigated in a class setting.” Id. at 126. In this case, like in Elisa W.,

one of Plaintiffs’ arguments is that the City’s wholesale failure to hold municipal officers

accountable for discriminatory traffic enforcement has allowed such practices to fester and

continue, as comprehensively demonstrated by Plaintiffs’ expert reports and a myriad of other

evidence common to class members. See, e.g., Bjerk Report, ECF No. 203-1; Gennaco Report,

ECF No. 203-2; Silverman Report, ECF No. 203-3 see also Plaintiffs’ Opening Brief Sections

III-IV, ECF No. 202 at pp. 13-21 (cataloguing common evidence of intentional discrimination);

Wilner Declaration, ECF No. 203, and accompanying exhibits.

        In Elisa W., “plaintiffs’ claims turn[ed] not on the cause of permanency delays for any

particular child, but on whether ACS’s practices lead to permanency delays thereby placing all

foster children at an unreasonable risk of harm.” 82 F.4th at 126.The same applies here:


classes—just as it has never held that a b(2) class definition must satisfy the implied requirement
of ascertainability—the best practice is to devise class definitions that are “both ascertainable
and non-circular.” Id. Plaintiffs’ proposed definition satisfies these criteria.
                                                   8
      Case 1:18-cv-00719-CCR            Document 241         Filed 11/19/24       Page 9 of 17




Plaintiffs’ injunctive claims do not turn on the justification and motivation for each stop or ticket

but on whether the BPD’s policies and practices are discriminatory and the City’s deliberate

indifference places all Black and Latino motorists at “unreasonable risk” of experiencing racially

biased traffic enforcement. Id. Because these questions go to the heart of liability and are shared

by all class representatives and class members alike, and because common evidence – including

statistical and Arlington Heights evidence – will be used to prove these claims, commonality and

typicality are satisfied. See Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (Rule

23’s requirements are satisfied where “the same evidence will suffice for each member to make a

prima facie showing [or] the issue is susceptible to generalized, class-wide proof.”) (citation

omitted).

        C. Plaintiffs Seek Injunctive Relief That Is Specific, Manageable, and Similar to
           Relief Ordered in Analogous Cases

        At the October 23 oral argument, this Court questioned how it would fashion an

injunction in this case, and what specific remedies the Court would order. Although the breadth

and scope of injunctive remedies fall within the sound discretion of the court under Rule 65, and

are not typically addressed at the class certification stage or prior to a liability determination,

Plaintiffs offer the following points of clarification:

        1.      Plaintiffs Seek Precisely Tailored Injunctive Remedies, Not An “Obey the
                Law” Injunction

        If the Traffic Enforcement Class succeeds in establishing that the City’s discriminatory

traffic enforcement policies, practices, and deliberate indifference are the moving force behind

ongoing racially discriminatory traffic enforcement, Plaintiffs would not seek a mere “follow the

law” injunction. Instead, Plaintiffs would ask this Court to order specific injunctive remedies

tailored to redress ongoing constitutional violations by the City, whether via permanent


                                                   9
     Case 1:18-cv-00719-CCR           Document 241        Filed 11/19/24     Page 10 of 17




injunction or consent decree. See Swann v. Charlotte-Mecklenburg Bd. of Ed., 402 U.S. 1, 12–16

(1971) (“Once a right and a violation have been shown, the scope of a district court’s equitable

powers to remedy past wrongs is broad, for breadth and flexibility are inherent in equitable

remedies.”). Rectifying systemic police discrimination typically involves—and requires—a

comprehensive remedial process, and in fashioning relief the Court will follow a well-trodden

path.7




7
  See, e.g., Final Order Approving Class Action Settlement and Judgment and Dismissing Class
claims Against County Defendants with Prejudice, Plaintiffs 1-21 v. County of Suffolk, Dkt. 443,
No. 2:15-CV-02431 (E.D.N.Y. July 14, 2023) (ordering data collection and auditing, civilian
oversight, Precinct-level advisory boards, and changes to policies and training); Morrow v. City
of Tenaha Deputy City Marshal Barry Washington, No. 2:08-CV-00288, 2020 WL 5534486, at
*3 (E.D. Tex. Sept. 15, 2020); Draft Settlement Agreement and Consent Decree, attached as
Exhibit A to Joint Motion for Entry of Order Approving Settlement Agreement and Consent
Decree at 7-21; Morrow, No. 2:08-CV-00288 (E.D. Tex. Aug. 7, 2013), ECF No. 267-2. (specific
requirements for equipment, audio and video recording, documentation, certification and
training, and officer performance records related to traffic stops and searches incident to those
stops); Illinois v. City of Chicago, No. 17-CV-6260, 2019 WL 398703, at *2 (N.D. Ill. Jan. 31,
2019); Consent Decree at 2-24, 76-104, 170-86, Illinois, No. 17-CV-6260, ECF No. 703-1 (Jan.
31, 2019) (community policing partnerships, increased officer training and supervision on biased
policing, data collection, and public transparency regarding complaints and investigations, all
under the supervision of an independent monitor); Order and Settlement Agreement, Dkt. 135,
Collins v. City of Milwaukee, No. 17-CV-234 (E.D. Wis. July 23, 2018) (oversight by monitor,
community engagement, data collection and publication, self-audits of stops by race, sustained
and continuing data-based improvements to constitutional based policing, changes to policies,
training, and supervision, and improved accountability procedures); Melendres v. Arpaio, No.
CV-07-02513, 2013 WL 5498218, at *1 (D. Ariz. Oct. 2, 2013), aff'd in part, vacated in part,
784 F.3d 1254 (9th Cir. 2015); Melendres v. Arpaio, No. CV-07-2513, 2016 WL 3996453 (D.
Ariz. July 26, 2016), aff'd sub nom. Melendres v. Maricopa Cnty., 897 F.3d 1217 (9th Cir. 2018)
(appointment of monitor to audit and oversee mandatory data collection of traffic stops and
outcomes, significant changes to internal affairs structure and process, and adoption of a dash
camera program and early warning system); Settlement Agreement, Class Certification, and
Consent Decree, Dkt. 16, 2:10-cv-05952, Bailey v. City of Philadelphia (June 21, 2011)
(approving settlement requiring oversight by monitor, quarterly data collection and review,
benchmarks to reduce constitutional violations, and changes to policies and practices); Order and
Joint Stipulation for Court Order Approving Class Settlement, Dkt. Nos. 1909-10, Thomas v. City
of Los Angeles, No. CV 90-5217 (approving settlement designating a Special Counsel to monitor
and report on Sheriff’s Department, allocating of funding for use of force and cultural diversity
training, as well as Lynwood Trust Fund).
                                                10
       Case 1:18-cv-00719-CCR          Document 241        Filed 11/19/24      Page 11 of 17




        A non-exhaustive list of remedies that may be appropriate in this case based on the

evidentiary record and initial conversations with our clients include:

       Cessation of BPD policies and practices contributing to racially biased traffic
        enforcement, including an end to pretextual traffic stops, “traffic safety” vehicle
        checkpoints and multiple tinted windows ticketing;

       Collection and regular publication of racial and other demographic data for all traffic
        stops, violations, and arrests (whether fingerprintable or not);

       Regular auditing of traffic stop, ticketing and arrest data; complaints; and body camera
        footage to identify and address patterns of biased policing and areas of improvement;

       Reforms to supervision and officer performance evaluation criteria to focus on quality
        and legality of officer activity;

       Enhanced procedural justice and anti-discrimination training for officers and supervisors,
        with a focus on interactions during traffic stops. All training should include interactive
        models, role plays, and a testing component to ensure that both officers and supervisors
        retain the concepts taught;

       Training for supervisors and Internal Affairs staff on identifying and correcting racial
        profiling and racially biased traffic enforcement practices committed by officers;

       Reforms to the Internal Affairs Department to bring the complaint investigation process
        in line with generally accepted practices;

       A mechanism overseen by a court-appointed monitor to allow for meaningful community
        input on additional policing reforms needed;

       Reforms to supervision and discipline so that officers are held accountable for violations
        of policy and constitutional rights, possibly including the creation of an empowered,
        independent Citizen Review Board; and,

       Debt relief and financial assistance for low-income people dealing with unaffordable
        repairs, unpaid tickets, waiver of outstanding tickets and towing fees, and reinstatement
        of suspended driver’s licenses.


        Each of the remedies identified is specifically tailored to address the ongoing violations

of law at the heart of the Traffic Enforcement Class’s case, and to prevent further injury to class




                                                 11
     Case 1:18-cv-00719-CCR            Document 241        Filed 11/19/24      Page 12 of 17




members, which is what Rule 23(b)(2) classes are all about. 8 See Raymond v. New York State

Dep’t of Corr. & Cmty. Supervision, 579 F. Supp. 3d 327, 343 (N.D.N.Y. 2022) (Rule 23(b)(2)

certification is appropriate when “litigants seek[] institutional reform in the form of injunctive

relief.”) (citing Stinson v. City of New York, 282 F.R.D. 360, 379 (S.D.N.Y. 2012). Although

courts must exercise caution when balancing policing and safety interests against the

constitutional rights of citizens affected by police practices, “where the levers of municipal

democracy have failed, leaving in place practices that violate constitutional rights, courts have a

duty to intervene.” Ligon v. City of New York, 925 F. Supp. 2d 478, 542 (S.D.N.Y. 2013); accord

Floyd, 959 F. Supp. 2d at 674.

       2.      Manageable Processes Exist to Aid the Court in Fashioning Injunctive Relief

       At oral argument, the Court queried how it would fashion injunctive relief. Courts

generally employ a multi-step process to determine the scope and content of a complex remedial

scheme like the one that would be required here. A key, overarching point is that the Court does

not have to manage the process alone, and rarely does. Input from the parties and key

stakeholders is essential, and courts often appoint a magistrate judge, special master, or monitor

to facilitate the process of developing specific remedies and to oversee implementation.

       The Court could begin the process of fashioning an injunction by sending the parties to

mediation before a magistrate judge, either immediately or after an initial round of briefing. The

goal of the mediation would be for the parties to work together to fashion a consent decree that

spells out in detail the steps the City will take to come into compliance, the benchmarks the City

must meet to earn its way out of the consent decree, and the data, reforms, and reporting



8
 Indeed, as Plaintiff Experts Michael Gennaco and Robert Silverman found, even when the City
says the right things (and it frequently doesn’t), it never does the right things or implements
needed reforms. See generally ECF No. 203-2, ECF No. 212.
                                                 12
     Case 1:18-cv-00719-CCR            Document 241         Filed 11/19/24      Page 13 of 17




necessary for the parties and the Court to measure the City’s progress against the benchmarks.

For example, Plaintiffs’ counsel NCLEJ is currently counsel to the class in multiple (b)(2) class

actions around the country where courts have ordered or are in the process of ordering

comprehensive, detailed and specific injunctive relief following this kind of collaborative

process. See, e.g., A.M.C. v. Smith, No. 20-CV-240, 2024 WL 3956315 (M.D. Tenn Aug. 26,

2024) (in mediation); Holmes v. Knodell, No. 22-CV-4026, 2024 WL 2097081 (W.D. Mo. May 9,

2024) (in mediation); Reynolds v. Giuliani, No. 98-civ-8877 (S.D.N.Y. Apr. 19, 2024) (court

ordered stipulation of settlement and corrective action plan); Newkirk v. Pierre, No. 19-CV-4283,

2022 WL 20358182 (E.D.N.Y. Oct. 25, 2022) (final approval order); Baez v. New York City

Housing Auth., No. 13-CV-8916, 2018 WL 6242224 (S.D.N.Y. Nov. 29, 2018) (approving

revised consent decree). Here in the Western District of New York, NCLEJ and the Western New

York Law Center represented the plaintiffs in two (b)(2) class actions that each secured lasting

relief for the plaintiff class via negotiated consent decrees; both cases were eventually dismissed

after the governmental agencies met the required benchmarks. See McCoy v. Restaino, No. 13-

cv-00711 (W.D.N.Y.); Martin v. Werner, No. 06-CV-00094E (W.D.N.Y.). The settlement in

County of Suffolk was also achieved through mediation. See Final Order Approving Class Action

Settlement and Judgment and Dismissing Class claims Against County Defendants with

Prejudice, Plaintiffs 1-21 v. County of Suffolk, Dkt. 443, No. 2:15-CV-02341 (E.D.N.Y. July 14,

2023) (court ordered mediation); See also Illinois, 2019 WL 398703, at *2. (consent decree

following numerous settlement conferences with the Court)

       In re Cincinnati Policing, presents a particularly effective model for reaching consensus

in cases involving systemic police discrimination. There, when the parties indicated an openness

to settlement following the filing of a class complaint, the court ordered the parties to participate



                                                 13
     Case 1:18-cv-00719-CCR            Document 241        Filed 11/19/24       Page 14 of 17




in a collaborative procedure, which ultimately included the City, class counsel, and numerous

stakeholders. 209 F.R.D. at 396-97; See Tyehimba v. City of Cincinnati, No. C-1-99-317, 2001

WL 1842470, at *1 (S.D. Ohio May 3, 2001). The court retained an expert to serve as a special

master to manage the collaborative process. In re Cincinnati Policing, 209 F.R.D. at 398. The

special master and the parties used surveys, in-person discussion sessions, and exhaustive data

collation and analysis to ascertain “five consensus goals for police-community relations of the

entire Cincinnati community,” which became a structuring framework for the settlement

agreement. The agreement included community-based policing strategies, extensive data

collection to monitor progress, the adoption of a Citizen Complaint Authority (“CCA”) to

address complaints, and additional provisions to address discriminatory policing practices and

deficient supervisory structures. In re Cincinnati Policing, 209 F.R.D. at 397–402. The

agreement also provided for a monitor to oversee implementation, compliance, and disputes that

arose between the parties. Id. at 402-03; Collaborative Agreement at 24, In re Cincinnati

Policing, 209 F.R.D. at 395. In approving the agreement, the court observed that it was a

“surgical tool” that addressed the mutual ultimate interests of both parties of “assuring efficient

and effective policing for all citizens, regardless of race, in an atmosphere of mutual respect.”

Id.. at 403. The settlement is heralded as a “landmark” agreement that “has been widely

recognized as a successful model for other police reform.” Floyd, 959 F. Supp. 2d at 686 & n.71.

       While Plaintiffs urge the use of a collaborative process like that employed in Cincinnati,

Defendants may not voluntarily agree to such a process. In Floyd, where Plaintiffs’ counsel

Center for Constitutional Rights and Covington & Burling LLP represented the class, the district

court ordered relief after an adversarial process. First, recognizing that “[b]ecause of the

complexity of the reforms that will be required to bring the NYPD’s stop and frisk practices into



                                                 14
     Case 1:18-cv-00719-CCR            Document 241         Filed 11/19/24       Page 15 of 17




compliance with the Constitution, it would be impractical for this Court to engage in direct

oversight of the reforms,” the court appointed an independent monitor to oversee the reform

process. Id. at 676. The court charged the monitor with developing and implementing “an initial

set of reforms to the NYPD’s policies, training, supervision, monitoring, and discipline regarding

stop and frisk” (the “Immediate Reforms”) followed by a “Joint Remedial Process” to develop “a

more thorough set of reforms.” Id. at 678. The court ordered all parties to participate in the Joint

Remedial Process, which involved extensive input from institutional stakeholders and the general

public, and hired a facilitator to oversee the process and recommend reforms. Id. at 688. In this

way, the court ensured that its remedial orders reflected input from all key stakeholders, police

practices and data experts, and the general public. The independent monitor continues today to

oversee compliance with the court-ordered relief. See https://www.nypdmonitor.org.

       The examples above demonstrate that the Court can call upon a variety of mechanisms to

ensure that injunctive relief is specific, workable, and tailored to the needs of the case. In

addition, Plaintiffs’ counsel have a combined wealth of experience that could potentially aid the

Court and that further exemplifies their suitability to serve as class counsel. The task of

developing specific remedial relief and monitoring the City’s compliance with remedies could

fall to a court-appointed independent monitor or special master. The monitor would ensure that

injunctive remedies entered by the Court are executed on an ongoing, continuous basis, using

data collection and reporting mechanisms; seek additional expert assistance as needed; and

provide periodic reports to the Court. The parties would only seek redress from the Court in

instances where violations of the Court’s injunctive orders persisted without meaningful

correction, thereby ensuring that the supervisory and administrative duties of the Court were

appropriately limited.



                                                  15
     Case 1:18-cv-00719-CCR           Document 241         Filed 11/19/24      Page 16 of 17




                                         CONCLUSION

       Accordingly, Plaintiffs respectfully request that their motion for class certification be

GRANTED

Dated: November 19, 2024

Respectfully Submitted,

_/s/ Claudia Wilner__

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                                                16
     Case 1:18-cv-00719-CCR           Document 241        Filed 11/19/24     Page 17 of 17




                                CERTIFICATE OF SERVICE

       I hereby certify that on November 19, 2024, the foregoing document was filed with the

Clerk of the Court and served in accordance with the Federal Rules of Civil Procedure, and/or the

Western District’s Local Rules, and/or the Western District’s Case Filing Rules & Instructions upon

all counsel registered through the ECF System.



                                             /s/ Claudia Wilner




                                                 17
